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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    AMYRIS, INC., et al.,1                                  )     Case No. 23-11131 (TMH)
                                                            )
                                                            )     (Jointly Administered)
                              Debtors.                      )
                                                            )

      AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
        ON SEPTEMBER 7, 2023 AT 11:00 A.M. (PREVAILING EASTERN TIME)
           BEFORE THE HONORABLE THOMAS M. HORAN IN THE U.S.
            BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


                    THE HEARING WILL BE CONDUCTED VIA ZOOM ONLY.

                 Please see below for the connection and registration information.
     Please Note: All individuals participating by video must register at least 2 hours prior to
      the hearing at the provided link. After registering your appearance by Zoom, you will
       receive a confirmation email containing information about joining the hearing. You
                    must use your full name when registering and logging into
                       Zoom or you will not be granted access to the hearing.
                                         Registration Link:

             https://debuscourts.zoomgov.com/meeting/register/vJItduyprjwpHEX2JYOrO10uHqvMolya1rM

                     COURTCALL WILL NOT BE USED FOR THIS HEARING.


I.           MATTERS GOING FORWARD

1.           Debtors' Emergency Motion to Assume and/or Enter Into Reimbursement Agreements
             with Professionals for the Ad Hoc Noteholder Group (Filed August 25, 2023) [Docket
             No. 148]



1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
2    Amended items appear in bold.



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        i.       Declaration of Philip J. Gund in Support of the on Debtors' Emergency Motion to
                 Assume and/or Enter Into Reimbursement Agreements with Professionals for the
                 Ad Hoc Noteholder Group (Filed August 25, 2023) [Docket No. 148-2]

        Response Deadline: September 1, 2023 at 4:00 p.m. (prevailing Eastern Time) by
                           agreement of the parties.

        Responses Received:

        A.       Objection of the United States Trustee to Debtors' Emergency Motion to Assume
                 and/or Enter Into Reimbursement Agreements with Professionals for the Ad Hoc
                 Noteholder Group (Filed September 1, 2023) [Docket No. 178]

        B.       Informal response received from the Official Committee of Unsecured Creditors
                 as incorporated into the form of the Proposed Order.

        Related Documents:

        C.       Motion to Shorten Notice and Schedule Expedited Hearing on Debtors'
                 Emergency Motion to Assume and/or Enter Into Reimbursement Agreements
                 with Professionals for the Ad Hoc Noteholder Group (Filed August 25, 2023)
                 [Docket No. 149]

        D.       Exhibit(s) to Debtors' Emergency Motion to Assume and/or Enter Into
                 Reimbursement Agreements with Professionals for the Ad Hoc Noteholder Group
                 (Filed August 25, 2023) [Docket No. 150]

        E.       Order Granting Motion of Debtors to Shorten Notice and Schedule Hearing on
                 Emergency Motion to Assume and/or Enter Into Reimbursement Agreements
                 with Professionals for the Ad Hoc Noteholder Group (Filed August 25, 2023)
                 [Docket No. 151]

        F.       Notice of Hearing on Motion to Assume and/or Enter Into Reimbursement
                 Agreements with Professionals for the Ad Hoc Noteholder Group (Filed August
                 28, 2023) [Docket No. 154]

        G.       Amended Notice of Hearing on Motion to Assume and/or Enter Into
                 Reimbursement Agreements with Professionals for the Ad Hoc Noteholder Group
                 (Filed August 30, 2023) [Docket No. 179]

        H.       Reply in Support of Debtors’ Motion to Assume and/or Enter Into Reimbursement
                 Agreements with Professionals for the Ad Hoc Noteholder Group (Filed September
                 5, 2023) [Docket No. 182]

        I.       Ad Hoc Noteholder Group's (I) Reply in Support of Motion of the Debtors to
                 Assume and/or Enter into Reimbursement Agreements with Professionals for
                 the Ad Hoc Noteholder Group and (II) Joinder in the Debtors' Reply (Filed
                 September 9, 2023) [Docket No. 184]

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        Status: This matter is going forward. The informal comments of the Committee have
                been resolved by language added to the revised proposed order attached to the
                Reply.



 Dated: September 5, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ James E. O’Neill
                                                Richard M. Pachulski (admitted pro hac vice)
                                                Debra I. Grassgreen (admitted pro hac vice)
                                                James E. O’Neill (DE Bar No. 4042)
                                                Jason H. Rosell (admitted pro hac vice)
                                                Steven W. Golden (DE Bar No. 6807)
                                                919 N. Market Street, 17th Floor
                                                P.O. Box 8705
                                                Wilmington, DE 19899-8705 (Courier 19801)
                                                Telephone: (302) 652-4100
                                                Facsimile: (302) 652-4400
                                                Email: rpachulski@pszjlaw.com
                                                        dgrassgreen@pszjlaw.com
                                                        joneill@pszjlaw.com
                                                        jrosell@pszjlaw.com
                                                        sgolden@pszjlaw.com

                                                Proposed Counsel to the Debtors and
                                                Debtors-in-Possession




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